Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 1 of 41




                                                              001017
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 2 of 41




                                                              001018
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 3 of 41




                                                               001019
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 4 of 41




                                                               001020
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 5 of 41




                                                               001021
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 6 of 41




                                                               001022
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 7 of 41




                                                               001023
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 8 of 41




                                                               001024
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 9 of 41




                                                               001025
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 10 of 41




                                                               001026
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 11 of 41




                                                               001027
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 12 of 41




                                                               001028
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 13 of 41




                                                               001029
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 14 of 41




                                                               001030
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 15 of 41




                                                               001031
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 16 of 41




                                                               001032
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 17 of 41




                                                               001033
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 18 of 41




                                                               001034
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 19 of 41




                                                               001035
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 20 of 41




                                                               001036
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 21 of 41




                                                               001037
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 22 of 41




                                                               001038
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 23 of 41




                                                               001039
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 24 of 41




                                                               001040
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 25 of 41




                                                               001041
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 26 of 41




                                                               001042
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 27 of 41




                                                               001043
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 28 of 41




                                                               001044
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 29 of 41




                                                               001045
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 30 of 41




                                                               001046
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 31 of 41




                                                               001047
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 32 of 41




                                                               001048
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 33 of 41




                                                               001049
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 34 of 41




                                                               001050
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 35 of 41




                                                               001051
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 36 of 41




                                                               001052
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 37 of 41




                                                               001053
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 38 of 41




                                                               001054
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 39 of 41




                                                               001055
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 40 of 41




                                                               001056
Case 5:20-cv-09254-SVK Document 17-22 Filed 03/31/21 Page 41 of 41




                                                              001057
